Case 1:18-cv-00477-LEK-RT Document 142 Filed 12/23/19 Page 1 of 3   PageID #: 2084




  ACLU OF HAWAII FOUNDATION                 Case No. 1:18-cv-00477-LEK-RT
  Mateo Caballero            #10081         [CIVIL RIGHTS ACTION]
  Jongwook “Wookie” Kim      #11020
  P.O. Box 3410                             [CLASS ACTION]
  Honolulu, Hawaii 96801
  Telephone: (808) 522-5908
  Facsimile: (808) 522-5909
  E-mail:    mcaballero@acluhawaii.org
             wkim@acluhawaii.org
  LEGAL AID AT WORK

  Elizabeth Kristen, pro hac vice
  Kim Turner, pro hac vice
  Elizabeth Bixby, pro hac vice
  180 Montgomery Street, Suite 600
  San Francisco, CA 94104
  Telephone: (415) 864-8848
  Facsimile: (415) 593-0096
  E-mail:     ekristen@legalaidatwork.org
              kturner@legalaidatwork.org
              lbixby@legalaidatwork.org
  SIMPSON THACHER & BARTLETT LLP
  Jayma M. Meyer, pro hac vice
  425 Lexington Avenue
  New York, NY 10017
  Telephone: (212) 455-3935
  Facsimile: (212) 455-2502
  E-mail:     jmeyer@stblaw.com
  Harrison J. Frahn IV, pro hac vice
  Wyatt A. Honse, pro hac vice
  2475 Hanover Street
  Palo Alto, California 94304
  Telephone: (650) 251-5000
  Facsimile: (650) 251-5002
  E-mail:      hfrahn@stblaw.com
               wyatt.honse@stblaw.com

  Attorneys for Plaintiffs
Case 1:18-cv-00477-LEK-RT Document 142 Filed 12/23/19 Page 2 of 3      PageID #: 2085




                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


                                            Case No. 1:18-cv-00477-LEK-RT
    A.B. and A.M.B, by their parents and
    next friends, C.B. and D.B., T.T., by
                                            [CIVIL RIGHTS ACTION]
    her parents and next friends, K.T. and
    S.T., and A.P., by her parents and next
    friends, C.P. and M.P.,                 CERTIFICATE OF SERVICE

                       Plaintiffs,             [CLASS ACTION]

                vs.

    HAWAII STATE DEPARTMENT OF
    EDUCATION and OAHU
    INTERSCHOLASTIC
    ASSOCIATION,
                       Defendants.



                           CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on December 23, 2019, a true and

  correct copy of PLAINTIFFS’ REQUESTS FOR ADMISSION TO DEFENDANT

  OAHU INTERSCHOLASTIC ASSOCIATION, SET ONE was duly served upon

  the following parties in the following manner:

  John M. Cregor                                     By Email
  Kendall J. Moser
  William K. Awong
  Office of the Attorney General-Hawaiʻi
  Civil Rights Litigation
  425 Queen Street

                                           1
Case 1:18-cv-00477-LEK-RT Document 142 Filed 12/23/19 Page 3 of 3   PageID #: 2086




  Honolulu, Hawaii 96813
  john.m.cregor@hawaii.gov
  Kendall.J.Moser@hawaii.gov
  william.k.awong@hawaii.gov
  Attorneys for Defendant Hawaii State Department of Education

  Lyle S. Hosoda                                   By Email
  Hosoda & Bonner, LLLC
  Three Waterfront Plaza, Suite 499
  500 Ala Moana Boulevard
  Honolulu, Hawaii 96813
  lsh@hosodalaw.com
  Attorney for Defendant Oahu Interscholastic Association

                          DATED: Honolulu, Hawaii, December 23, 2019.

                                      Respectfully submitted,

                                      /s/ Jongwook “Wookie” Kim
                                      Mateo Caballero
                                      Jongwook “Wookie” Kim
                                      ACLU OF HAWAII FOUNDATION

                                      Elizabeth Kristen
                                      Kim Turner
                                      Elizabeth Bixby
                                      LEGAL AID AT WORK

                                      Jayma M. Meyer
                                      Harrison J. Frahn, IV
                                      Wyatt A. Honse
                                      SIMPSON THACHER & BARTLETT LLP

                                      Attorneys for Plaintiffs




                                        2
